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                                                                                       FILED
                                                                                  November 6, 2024
    SEALED                                                                      CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
                        UNITED STATES DISTRICT COURT                                 By:         RR
                         WESTERN DISTRICT OF TEXAS                                                          Deputy
                            SSAaNnAANnTtOoNnIiOo DIVISION
                                                             Case No:             SA:24-CR-00546-OLG

UNITED STATES OF AMERICA
      Plaintiff

             v
                                                   INDICTMENT
 1 ARTURO GABRIEL LEIJA-ALVARADO
aka “TOTO”
 2 FRANCIS EDWARD HILLIARD                         Conspiracy      toPossess with Intent to Distribute 500 Gramso
aka EDDIE HILLIARD
 3 RICHARD WILLIAM AARON PATTON
aka AARON PATTON

                                                   Possess      with   Intent     toDistribute        500       Grams   of


                                                                 Felon in Possession of a Firearm
                                                                   Felon in Possession of a Firearm


                                                   Possession of an Unregistered NFA Firearm



THE GRAND JURY CHARGES:

                                      COUNT ONE
                                  [18 U.S.C. §922(g)(1)]

                     [21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A)]

     That from on or about August 1, 2024, until on or about October 18, 2024, in the Western
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knowing that he had been convicted of a crime punishablepboyssiemsps risonment for a term exceedinga

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              om                  itsits: alts, isomers, and salts of its isomers, contrary to Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A), and in violation of Title 21, United States Code,

Section 846.

                                                       COUNT TWO
                                          [21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)]

                                                                                                                        Defendant

                            (1) ARTURO GABRIEL LEIJA-ALVARADO aka “TOTO”

knowingly, intentionally, and unlawfully possessed with the intent to distribute a controlled

substance, which offense involved 500 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, in violation of

Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

                                                                THREE
                                             [18 U.S.C. §§ 922(g)(1) and 924(a)(8)]

                                                                                                                        Defendant

                            (1) ARTURO GABRIEL LEIJA-ALVARADO aka “TOTO”,

knowing that he had been convicted of a crime punishable by imprisonment for a term exceeding

one year, knowingly possessed a firearm that had been shipped and transported in interstate and

foreign commerce, to wit: a Springfield Armory XD-9 handgun, bearing serial number

GM911750, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

                                                                 FOUR
                                             [18 U.S.C. §§ 922(g)(1) and 924(a)(8)]
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knowing that he had been convicted of a crime punishable by imprisonment for a term exceeding

one year, knowingly possessed a firearm that had been shipped and transported in interstate and

foreign commerce, to wit:

       (1)    a Pioneer Arms 7.62 x 39 caliber rifle, bearing serial number PAC114971221;

       (2)    a Glock 19 9mm handgun, bearing serial number YHK559;

       (3)    a Taurus PT908 9mm handgun, bearing serial number TNB50114;

       (4)    a Taurus 9mm handgun, bearing serial number TCX49968;

       (5)    a Taurus 9mm handgun, bearing serial number TMG02350;

       (6)    a Browning Arms 12-gauge shotgun, bearing serial number L13PM04381;

       (7)    a Winchester 12-gauge shotgun, bearing serial number L3255305;

       (8)    a Winchester 12-gauge shotgun, bearing serial number L3321694;

       (9)    a Smith & Wesson Magnum .357 caliber handgun, bearing serial number 71547;

       (10)   a Smith & Wesson .38 caliber handgun, bearing serial number 35891;

       (11)   a Smith & Wesson .38 caliber handgun, bearing serial number C40296422;

       (12)   a Ruger P95 9mm handgun, bearing serial number 31809286;

       (13)   a Braztech .45 caliber handgun, bearing serial number 5G0027030X;

       (14)   a Cobra .380 caliber handgun, bearing serial number FS109442;

       (15)   a Heritage .22 caliber handgun, bearing serial number 3PH325198;

       (16)   a Heritage .22 caliber handgun, bearing serial number P76171;

       (17)   a Rock Island Armory 1911 handgun, bearing serial number RIA1720866;

       (18)   an ATA Arms 12-gauge shotgun, bearing serial number 20D20466;

       (19)   an ATA Arms 12-gauge shotgun, bearing serial number SA69144;

       (20)   a J.C. Higgins .410 caliber shotgun, having an obliterated serial number;



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       (21)   a Revelation 12-gauge shotgun, bearing serial number H182133;

       (22)   a Rossi 20-gauge shotgun, bearing serial number 5GR051634;

       (23)   a Rossi 12-gauge shotgun, bearing serial number 5HN145280;

       (24)   a Westernfield 20-gauge shotgun, bearing serial number M550CR;

       (25)   a Marlin 1897 rifle, bearing serial number 269244;

       (26)   a Marlin .22 caliber rifle, bearing serial number 20292318;

       (27)   a Marlin .60 caliber rifle, bearing serial number 08281797;

       (28)   a Marlin 30-30 caliber rifle, bearing serial number 00091274;

       (29)   a Marlin 45-70 caliber rifle, bearing serial number MR32633G;

       (30)   a Ruger .22 caliber rifle, bearing serial number 83294996;

       (31)   a Winchester .22 caliber rifle, bearing serial number 02291;

       (32)   a Hi-Point Yeet Cannon YC15 rifle with scope, bearing serial number YC150318;

       (33)   a Norinco SKS rifle, bearing serial number 1402270; and

       (34)   a CGS Mod 9 suppressor, bearing serial number M9F2302;

all in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

                                          COUNT FIVE
                                       [26 U.S.C. § 5861(d)]
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    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                I.
                           Drug Violations and Forfeiture Statutes
       [Title 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A), and (b)(1)(B) subject to forfeiture
                        pursuant to Title 21 U.S.C. § 853(a)(1) and (2)]

       As a result of the criminal violations set forth in Counts One and Two, the United States

gives notice to the Defendants of its intent to seek the forfeiture of the property described below

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C. § 853(a)(1) and (2),

which states:

       Title 21 U.S.C. § 853. Criminal forfeitures
               (a) Property subject to criminal forfeitures.
              Any person convicted of a violation of this subchapter or subchapter II punishable
              by imprisonment for more than one year shall forfeit to the United States,
               irrespective of any provision of State law.--
                       (1) any property constituting, or derived from, any proceeds the person
                       obtained, directly or indirectly, as the result of such violation;
                       (2) any of the person’s property used, or intended to be used, in any manner
                       or part, to commit, or to facilitate the commission of, such violation; . . .

                                              II.
                        Firearm Violations and Forfeiture Statutes
[Title 18 U.S.C. §§ 922(g)(1) and 924(a)(8), subject to forfeiture pursuant to Title 18 U.S.C.
      § 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts Three and Four, the United States

gives notice to Defendants (1) ARTURO GABRIEL LEIJA-ALVARADO and (2) FRANCIS

EDWARD HILLIARD of its intent to seek the forfeiture of the property described below upon

conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable

to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 924. Penalties
               (d)(l) Any firearm or ammunition involved in or used in any knowing
              violation of subsection . . . g…. of section 922, …or knowing violation of
               section 924. . . shall be subject to seizure and forfeiture . . . under the
              provisions of this chapter......

                                                III.

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                  Unregistered Possession Violation and Forfeiture Statutes
    [Title 26 U.S.C. § 5861(d), subject to forfeiture pursuant to Title 26 U.S.C. § 5872(a),
              made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Count Five, the United States of America

gives notice to Defendant (2) FRANCIS EDWARD HILLIARD of its intent to seek the forfeiture

of the property described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 26

U.S.C. § 5872(a), made applicable to criminal forfeiture pursuant to Title 28 U.S.C. § 2461(c),

which states the following:

       Title 26 U.S.C. § 5872(a). Forfeiture
       (a) Laws applicable. ―Any firearm involved in any violation of the provisions
       of this chapter shall be subject to seizure and forfeiture . . .

        This Notice of Demand for Forfeiture includes but is not limited to the following:

                                               IV.

       (1) ARTURO GABRIEL LEIJA-ALVARADO:
           1.   $21,646.00, More or Less in United States Currency;
           1.   60ft Flatbed trailer with add on;
           2.   Springfield Armory XD-9 handgun, bearing serial number GM911750;
           3.   Smith & Wesson MP 5.7 caliber, serial number PJJ2739; and
           4.   Any and all firearms, ammunition, and/or accessories involved in or used in the
                commission of the criminal offenses.

       (2) FRANCIS EDWARD HILLIARD:
           1. Pioneer Arms 7.62 x 39 caliber rifle, bearing serial number PAC114971221;
           2. Glock 19 9mm handgun, bearing serial number YHK559;
           3. Taurus PT908 9mm handgun, bearing serial number TNB50114;
           4. Taurus 9mm handgun, bearing serial number TCX49968;
           5. Taurus 9mm handgun, bearing serial number TMG02350;
           6. Browning Arms 12-gauge shotgun, serial number L13PM04381;
           7. Winchester 12-gauge shotgun, bearing serial number L3255305;
           8. Winchester 12-gauge shotgun, bearing serial number L3321694;
           9. Smith & Wesson Magnum .357 caliber handgun, bearing serial number 71547;
           10. Smith & Wesson .38 caliber handgun, bearing serial number 35891;
           11. Smith & Wesson .38 caliber handgun, bearing serial number C40296422;
           12. Ruger P95 9mm handgun, bearing serial number 31809286;
           13. Braztech .45 caliber handgun, bearing serial number 5G0027030X;


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         14. Cobra .380 caliber handgun, bearing serial number FS109442;
         15. Heritage .22 caliber handgun, bearing serial number 3PH325198;
         16. Heritage .22 caliber handgun, bearing serial number P76171;
         17. Rock Island Armory 1911 handgun, bearing serial number RIA1720866;
         18. ATA Arms 12-gauge shotgun, bearing serial number 20D20466;
         19. ATA Arms 12-gauge shotgun, bearing serial number SA69144;
         20. J.C. Higgins .410 caliber shotgun, having an obliterated serial number;
         21. Revelation 12-gauge shotgun, bearing serial number H182133;
         22. Rossi 20-gauge shotgun, bearing serial number 5GR051634;
         23. Rossi 12-gauge shotgun, bearing serial number 5HN145280;
         24. Westernfield 20-gauge shotgun, bearing serial number M550CR;
         25. Marlin 1897 rifle, bearing serial number 269244;
         26. Marlin .22 caliber rifle, bearing serial number 20292318;
         27. Marlin .60 caliber rifle, bearing serial number 08281797;
         28. Marlin 30-30 caliber rifle, bearing serial number 00091274;
         29. Marlin 45-70 caliber rifle, bearing serial number MR32633G;
         30. Ruger .22 caliber rifle, bearing serial number 83294996;
         31. Winchester .22 caliber rifle, bearing serial number 02291;
         32. Hi-Point Yeet Cannon YC15 rifle with scope, bearing serial number YC150318;
         33. Norinco SKS rifle, bearing serial number 1402270;
         34. CGS Mod 9 suppressor bearing serial number M9F2302; and
         35. Any and all firearms, ammunition, and/or accessories involved in or used in the
             commission of the criminal offenses.




      JAIME ESPARZA
      UNITED STATES ATTORNEY


BY:
                    A. Peck
      John A. Fedock
      Assistant United States Attorney




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